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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------x           Civil Action No. 1:24-cv-3949
EPIFANIA NUNEZ,

                                             Plaintiff,

    -against-

JAY ZED LLC,
BROOKLIVE MANAGEMENT LLC,
JASON VORCHHEIM,
SMYTH LAW P.C.,
CHRISTINA SMYTH, and
CHRISTINA WILLIAMS,

                                  Defendants.
-----------------------------------------------------------x

        Named Defendants:
    •   Jay Zed LLC: by and through the New York Secretary of State, One Commerce Plaza, 99
        Washington Avenue, Albany, NY 12231
    •   Brooklive Management LLC: by and through the New York Secretary of State, One
        Commerce Plaza, 99 Washington Avenue, Albany, NY 12231
    •   Jason Vorchheim: 7520 Vleigh Place, Flushing, NY 11367
    •   Smyth Law P.C.: 355 Lexington Avenue, New York, NY 10017
    •   Christina Smyth: 355 Lexington Avenue, New York, NY 10017
    •   Christina Williams: 355 Lexington Avenue, New York, NY 10017

Respectfully,
/s/
Emma Caterine, Esq.
